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                    UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF VIRGINIA
 SONY ENTERTAINMENT, et al.,

                        Plaintiffs,
                                                  Case No. 1:18-cv-00950-LO-JFA
               v.

 COX COMMUNICATIONS, INC., et al.,

                        Defendants.


                                      NOTICE OF HEARING

       PLEASE TAKE NOTICE that on Friday, April 12, 2019, at 10:00 a.m., or as soon

thereafter as counsel may be heard, Defendants will present oral argument in support of Cox’s

Objections to Magistrate Judge’s Non-Dispositive Ruling. (Dkt. 116).



Dated: March 13, 2019                               Respectfully submitted,

                                                    /s/ Thomas M. Buchanan /
                                                    Thomas M. Buchanan (VSB No. 21530)
                                                    WINSTON & STRAWN LLP
                                                    1700 K Street, NW
                                                    Washington, DC 20006-3817
                                                    Tel: (202) 282-5787
                                                    Fax: (202) 282-5100
                                                    Email: tbuchana@winston.com

                                                    Attorney for Defendants Cox
                                                    Communications, Inc. and CoxCom, LLC




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Of Counsel for Defendants

Michael S. Elkin (pro hac vice)
Thomas Patrick Lane (pro hac vice)
WINSTON & STRAWN LLP
200 Park Avenue
New York, NY 10166-4193
Tel: (212) 294-6700
Fax: (212) 294-4700
Email: melkin@winston.com
Email: tlane@winston.com

Jennifer A. Golinveaux (pro hac vice)
WINSTON & STRAWN LLP
101 California Street, 35th Floor
San Francisco, CA 94111-5840
Tel: (415) 591-1000
Fax: (415) 591-1400
Email: jgolinveaux@winston.com

Diana Hughes Leiden (pro hac vice)
WINSTON & STRAWN LLP
333 S. Grand Avenue, Suite 3800
Los Angeles, CA 90071
Tel: (213) 615-1700
Fax: (213) 615-1750
Email: dhleiden@winston.com




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                               CERTIFICATE OF SERVICE

       I certify that on March 13, 2019, a copy of the foregoing NOTICE OF HEARING was filed

electronically with the Clerk of Court using the ECF system which will send notifications to ECF

participants.



                                                   /s/ Thomas M. Buchanan
                                                   Thomas M. Buchanan (VSB No. 21530)
                                                   Winston & Strawn LLP
                                                   1700 K Street, N.W.
                                                   Washington, D.C. 20006-3817
                                                   Tel: (202) 282-5787
                                                   Fax: (202) 282-5100
                                                   Email: tbuchana@winston.com

                                                   Attorney for Cox Communications, Inc. and
                                                   CoxCom, LLC




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